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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :   Chapter 11
                                                               :
BCBG MAX AZRIA GLOBAL                                          :   Case No. 17-10466 (SCC)
HOLDINGS, LLC, et al.,                                         :
                                                               :   Jointly Administered
                                                               :
                  Debtors.                                     :
---------------------------------------------------------------x
                                                               :
DAVID MACGREEVEY, in his capacity as                           :
PLAN ADMINISTRATOR,                                            :   Adv. Pro. No. 17-01101 (SCC)
                                                               :
                  Plaintiff,                                   :
                                                               :
         vs.                                                   :
                                                               :
NYAM, LLC,                                                     :
                                                               :
                  Defendant.                                   :
---------------------------------------------------------------x

                            ORDER GRANTING PLAINTIFF’S
                       MOTION FOR PARTIAL SUMMARY JUDGMENT

        The matter having come before the Court on Plaintiff’s Motion for Partial Summary

Judgment (“Plaintiff’s Summary Judgment Motion”) filed by David MacGreevey (the

“Plaintiff”), solely in his capacity as plan administrator, and Defendant NYAM, LLC’S Cross-

Motion for Summary Judgment (the “NYAM Summary Judgment Motion”, and together with

Plaintiff’s Summary Judgment Motion, the “Motions”); and the Court having considered the

Motions, the declarations and other evidence submitted in support of the Motions, all responses

to the Motions, and the arguments presented by counsel; and it appearing, for the reasons stated

on the record at the March 5, 2019 hearing on the Motions (the “Hearing”), that good cause




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exists to grant the relief requested in Plaintiff’s Summary Judgment Motion; it is hereby1

          ORDERED that Plaintiff’s Summary Judgment Motion is GRANTED; and it is further

ORDERED that NYAM’s Summary Judgment Motion is denied for the reasons set forth on the

record of the Hearing; and it is further

          ORDERED that NYAM is liable to the Plaintiff in the amount of $675,000.00; and it is

further

          ORDERED that NYAM's second affirmative defense of setoff is dismissed in its entirety;

and it is further

          ORDERED that the Clerk of the Court is directed to enter judgment against NYAM in

the amount of $675,000.00 plus interest at the federal judgment rate from the date when such

judgment becomes final and non-appealable, until paid in full; and it is further

          ORDERED this Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation of this Order and/or Judgment.


New York, New York
Dated: March 13, 2019
                                                   /S/ Shelley C. Chapman
                                                   UNITED STATES BANKRUPTCY JUDGE




1
    Capitalized terms not defined herein shall have the meanings ascribed to such terms in Plaintiff’s Summary
    Judgment Motion or, if not defined in the Motion, in the Memorandum of Law in Support of Plaintiff’s Motion
    for Partial Summary Judgment.
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